       Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 1 of 13 PageID 45
Filing # 54954776 E-Filed 04/12/2017 08:07:33 AM



                      IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT IN
                                 AND FOR PASCO COUNTY, FLORIDA

        STEVEN R. OLSON AND
        VINCENZA OLSON
                                                                        Case No.:
                 Plaintiffs,
        V.

        CALIBER HOME LOANS, INC.,

                 Defendant.


                                                    COMPLAINT
                 Plaintiffs, Steven R. Olson and Vincenza Olson ("Plaintiffs" or "Olson"), by and through
        their undersigned counsel, hereby file this Complaint against Defendant, Caliber Home Loans,

        Inc., and its present, former, or future direct and indirect parent companies, subsidiaries,

        affiliates, agents, and/or other related entities, and allege as follows:

                                                JURISDICTION

                 1.     This is an action for damages exceeding $15,000.00 brought by Steven R. Olson

        and Vincenza Olson against Caliber Home Loans, Inc., for repeated violations of the Florida

        Consumer Practices Act, Fla. Stat. § 559.72, Fair Debt Collection Practices Act ("FDCPA"), 15

        U.S.C. § 1692 et. seq., and the Telephone Consumer Protection Act ("TCPA"), 47 U.S.C. § 227 et

        seq.   ("TCPA").

                 2.     Jurisdiction and venue for purposes of this action are proper in Pasco County,

        Florida, and are conferred by Fla. Stat. by § 559.77, 15 U.S.C. § 1692(d), and 47 U.S.C. §

        227(b)(3).

                 3.     This Court has personal jurisdiction over Defendant because it has submitted to

        Florida jurisdiction by registering with the Secretary of State to do business in the state of
Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 2 of 13 PageID 46




 Florida, and a substantial part of the wrongful acts alleged in this Complaint were committed in

 Pasco County, Florida.

                                              PARTIES

        4.      Plaintiff Steven R. Olson, is a natural person who resides in Florida. He is a

"consumer" or a "person" affected by a violation of the FDCPA and FCCPA as those terms are

 defined by 15 U.S.C. §§ 1692a(3) and 1692k, and 47 U.S.C. § 153(39).

        5.      Plaintiff, Vincenza Olson, is a natural person who resides in Florida. She is a

"consumer" or a "person" affected by a violation of the FDCPA and FCCPA as those terms are

 defined by 15 U.S.C. §§ 1692a(3), 1692k, and Fla. Stat. § 559.55(8).

        6.      At all times material hereto, Plaintiffs are "debtors" as defined by Fla. Stat.

 559.55(8). Plaintiffs have been the object of collection activity.

        7.      Defendant, Caliber Home Loans, Inc. ("Defendant" or "Caliber"), is a Delaware

 corporation with its principal place of business in Irving, Texas. Defendant is registered to do

and is doing business in Florida and throughout the United States.

        8.      Defendant is a "debt collector" as that term is defined under 15 U.S.C. 1692(a)(6)

and Fla. Stat. § 559.55(7).

        9.      Defendant is a "person" within the meaning of Fla. Stat. § 559.72.

                                   FACTUAL ALLEGATIONS

        10.     On or about December 30, 2004, Plaintiffs, Steven R. Olson and Vincenza Olson,

purchased real property located at 10275 Egret Avenue, Brooksville, Florida 34613 (the

"Property").

        11.     Olson financed the purchase of the Property through a mortgage from The Bank

Brevard ("Mortgage Account").



                                                  2
Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 3 of 13 PageID 47




        12.     The alleged Debt was a financial obligation that was primarily for personal,

 family or household purposes and is, therefore, a "debt" as that term is defined by 15 U.S.C. §

 1692a(5) and Fla. Stat. § 559.55(6).

         13.    Upon information and belief, on or around April 8, 2013, the Debt was assigned,

 placed or otherwise transferred to Caliber for collection.

        14.     On or about October 20, 2013, Caliber filed a foreclosure action against Olson

 styled Caliber Home Loans, Inc. v. Steven R. Olson, et al., Case No. 2012-CA-02260 (Fifth

 Judicial Circuit, Hernando County, Florida) (the "Debt Collection Action").

        15.     Shortly thereafter Olson retained legal counsel, Andrew Lyons, Esq. to represent

 them with respect to the Debt and defend the Debt Collection Action and debt collection.

        16.     On or about November 2013, Olson spoke with Caliber, or its employees or

 representatives, and informed Caliber that Olson was represented by legal counsel with respect to

 the Debt. Olson provided Caliber with the contact name and phone number for legal counsel.

        17.     During said call, Olson requested that the Caliber representative cease and desist

 all direct communication with them related to the Debt, and instead speak directly with their

 attorney.

        18.     On or about December 10, 2013, Andrew Lyons, Esq., filed his notice of

 appearance as counsel on behalf of Olson with the relevant Court and Caliber's legal counsel.

        19.     Notwithstanding Olson's verbal and written notifications regarding legal

 representation with respect to the Debt, Caliber continued to directly contact Plaintiffs via mail,

 on their cellular telephones, and at Plaintiffs work, in an attempt to collect the alleged Debt.

        20.     Throughout the months of November 2013 to April 2014, Caliber made no less

 than 19 phone calls to Olson's cellular telephone in an attempt to collect the Debt.



                                                   3
Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 4 of 13 PageID 48




        21.     On or about October 20, 2014, Caliber sent correspondence further

 acknowledging Olson's legal representation by counsel with respect to the Debt. A true and

 correct copy of the correspondence is attached hereto as Exhibit "A."

        22.     Notwithstanding Olson having retained legal counsel, and Caliber having

 knowledge of this circumstance, Caliber has contacted Olson directly by mail and telephone, on

 multiple occasions for the purposes of collecting on the alleged Debt.

        23.      On or about October 30, 2015, Olson entered into a Consent to Final Judgment

 with Caliber. The Final Judgment was in rem only in regards to Olson's obligation towards the

 Debt. Caliber agreed to waive any deficiency judgment against Olson in the Debt Collection

 Action. Further, the Final Judgment ordered that the final judgment collect interest at the

 statutory interest rate of 4.75 per cent.

         24.    Notwithstanding Caliber having waived any claim to the Debt, by charging or

 threatening to charge additional interest upon a waived debt, Caliber was claiming, attempting or

 threatening to assert the existence of a legal right in violation of Fla. Stat. § 559.72(9), when

 Caliber had knowledge that such right and such Debt did not exist.

         25.     Specifically, since October 30, 2015, Caliber has contacted Olson via mail and

 phone, in an attempt to collect upon the debt by attempting to induce Olson to contact Caliber to

 pay the debt in direct contravention of the notice of legal representation and waiver of the Debt

 by Caliber.

         26.     The TCPA makes it unlawful "to make any call (other than a call made for

 emergency purposes or made with the prior express consent of the called party) using an

 automatic telephone dialing system or an artificial or prerecorded voice ... to any telephone

 number assigned to a ... cellular telephone service." 47 U.S.C. § 227(b)(1)(A)(iii). The TCPA



                                                 4
Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 5 of 13 PageID 49




 provides a private cause of action to persons who receive calls in violation of 47 U.S.C. §

 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

         27.     Olson is the account holder of a Verizon cellular telephone numbers 352-279-

 8807 and 352-278-8813 and, pursuant to the terms of the contract, is charged for each call within

 the meaning of 47 U.S.C.§ 227(b)(1)(A)(iii).

         28.     Without Olson's prior express consent, Caliber repeatedly and willfully placed

 calls to Olson's personal cellular telephone number in an effort to collect this debt, which were

 "communication[s]" in an attempt to collect a debt as that term is defined by 15 U.S.C. §

 1692a(2) and Fla. Stat. § 559.55(5)

         29.     Each telephone call Caliber made to Olson's telephone was made using an

 "automatic telephone dialing systems" ("ATDS") and/or artificial or prerecorded voice, as defined

 by the TCPA 47 U.S.C. § 227(a)(1) and 47 C.F.R. 64.1200(f)(1).

         30.     Many of these calls to Olson contained a pre-recorded and/or synthesized

 message in violation of the TCPA because they were sent to Olson without their prior express

 consent.

         31.     All calls and messages were sent in willful violation of the TCPA and the FDCPA

 because Caliber never obtained Olson's prior express consent, and had no basis to believe that

 they had the Olson's prior express consent to make automated calls to their cell phone or to send

 them prerecorded and/or synthesized messages on their cell phone.

         32.     Caliber's repeated autodialed collection calls to Olson's cellular telephone, within

 the last four years prior to filing this complaint, were illegal third-party attempts to collect this debt

 in violation of the TCPA, 47 U.S.C. § 227 et seq.

         33.     According to findings by the Federal Communication Commission ("FCC"), the



                                                     5
Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 6 of 13 PageID 50




 agency Congress vested with authority to issue regulations implementing the TCPA, such calls

 are prohibited because, as Congress found, automated or prerecorded telephone calls are a

 greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

 and inconvenient. The FCC also recognized that wireless customers are charged for incoming

 calls, whether they pay in advance or after the minutes are used. See In re Rules & Regulations

 Implementing the Tel. Consumer Prot. Act of 1991, 18 F.C.C. Rcd. 14014 (2003).

         34.     Caliber's repeated letters and autodialed collection calls to Olson's cellular

 telephone, within the last four years prior to filing this complaint, were illegal third-party attempts to

 collect this debt in violation of numerous and multiple provisions of the FDCPA, including but not

 limited to 15 U.S.C. §§ 1692d, 1692d (5), 1692e, 1692e (2), 1692e (5), 1692e (10), 1692b (6),

 1692f, and 1692f(1), amongst others.

         35.     Caliber's calls to Plaintiff on their cellular telephone were made for purposes of

 collecting a debt associated with their Mortgage Account.

         36.     Caliber did not obtain prior express consent to call Olson on their cellular

 telephone for purposes of attempting to collect debt associated with the Mortgage Account.

 Alternatively, any prior express consent obtained was revoked by: (1) Plaintiffs' affirmative

withdraw of consent to be contacted by phone; and (2) by Plaintiffs' and his attorney's

affirmative act of providing the name and contact information for legal counsel.

        37.      Caliber is responsible for making the above-described ATDS-generated and/or

automated or prerecorded calls.




                                                     6
Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 7 of 13 PageID 51




                                             DAMAGES

        38.      Plaintiffs have sustained damages as defined by Fla. Stat. § 559.77, 15 U.S.C. §

 1692k(a) and 47 U.S.C. § 227(b)(3).

        39.      Defendant has acted maliciously by engaging in a course of conduct intended to

 harass Olson.

        40.      Defendant is subject to and has violated the provisions of the FCCPA, FDCPA,

 and TCPA by willfully communicating with Plaintiffs with such frequency as can reasonably be

 expected to harass or abuse Plaintiffs —despite Plaintiffs' representation by legal counsel, by

 continuously contacting Plaintiffs by telephone and mail.

        41.      Plaintiffs have been damaged by these illegal calls because their privacy was

 improperly invaded, minutes were used from their cellular telephone plans, and they were forced

 to spend time tending to unwanted calls.

        42.      Defendant's persistent autodialed calls eliminated Plaintiffs' right to be left alone.

        43.      These persistent autodialed collection calls eliminated the peace and solitude that

 the Plaintiffs would have otherwise had.

        44.      As a direct and proximate result of the conduct and acts of Defendant mentioned

 above, Plaintiffs' excellent credit rating has been impaired and Plaintiffs. have sutthred emotional

 distress, disrupted sleep, marital instability, stress, anxiety, anger, embarrassment, humiliation

 and shame, all to Plaintiffs' damage. Plaintiffs further suffered fear of answering their own

 telephone.

        45.      Plaintiffs have incurred reasonable attorneys' fees in pursuit of this enforcement

 action, and will seek recovery of same against Defendant, and as allowed under Fla. Stat. §

 559.77(2) and 15 U.S.C. § 1692k(a).



                                                   7
Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 8 of 13 PageID 52




         46.    Pursuant to 47 U.S.C. § 227(b)(3), Plaintiffs are entitled to an award of up to $500

 in damages for each violation and $1,500 for each willful violation by Defendant.

         47.    All conditions precedent to the filing of this action have occurred or have been

 waived by Defendant.

                                COUNT I
           VIOLATION OF THE FLORIDA CONSUMER PRACTICES ACT,
                        FLA. STAT. 44 559.72 ET SEQ.

        48.     Plaintiffs incorporate by reference all the facts and allegations contained in the

 preceding paragraphs 1-47 as if fully set forth herein.

        49.     Defendant is subject to, and has violated provisions of Fla. Stat. § 559.72(18) by

 intentionally and repeatedly communicating with Plaintiffs after being given actual notice that

 Plaintiffs were represented by counsel with regard to the underlying Debt and Defendant had

 knowledge of, or could readily ascertain, the attorney's name and address.

        50.     Despite having knowledge of legal representation, Defendant sent multiple

 communications and placed multiple phone calls to Plaintiffs' cellular telephone in its attempt to

 collect the Debt.

        51.     Defendant is subject to, and has violated provisions of Fla. Stat. § 559.72(9) by (i)

 attempting to collect upon a Debt when the Debt is not legitimate and Defendants know such

 right does not exist since the parties entered into a settlement agreement and final judgment

 which specifically references that the judgment waived any deficiency and (ii) seeking an

 interest rate that is contrary to the court ordered Final Judgment.

        52.     Defendant is subject to, and has violated provisions of Fla. Stat. § 559.72(7) by

 willfully communicating with Plaintiffs with such frequency as can reasonably be expected to

 harass, and by willfully engaging in other conduct which can reasonably be expected to abuse or



                                                  8
Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 9 of 13 PageID 53




 harass Plaintiffs, by continuing to contact Plaintiffs repeatedly in an attempt to collect upon the

 Debt respite legal representation by counsel and a waiver of the Debt.

        53.       As a direct and proximate cause of Defendants' actions, Plaintiffs have sustained

 damages as defined by Fla. Stat. § 559.77.

        WHEREFORE, Plaintiffs demand a trial by jury and request judgment:

              a. Enjoining Defendants from any and all further illegal collection practices;

              b. Statutory damages of $1,000, plus actual damages;

              c. For punitive damages;

              d. For attorneys' fees; and

              e. For such other and further relief as the court deems appropriate.

                                  COUNT H
           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT,
                                     15 U.S.C. 1692 ET SEQ.

        54.      Plaintiffs incorporate by reference all the facts and allegations contained in the

 preceding paragraphs 1-47 as if fully set forth herein.

        55.      The foregoing acts and omissions of Defendant constitute numerous and multiple

 violations of the FDCPA including, but not limited to 15 U.S.C. §§ 1692d, 1692d(5), 1692e,

 1692e(2), 1692e(5), 1692e(10), 1692b(6), 1692f, and 1692f(1), amongst others.

        56.      As a result of Defendant's violations of the FDCPA, Plaintiff is entitled to actual

 damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an artount up to $1,000.00

 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney's fees and costs pursuant to 15

 U.S.C. § 1692k(a)(3), from Defendant.

        WHEREFORE, Plaintiffs demand a trial by jury and request judgment:

              a. Enjoining Defendants from any and all further illegal collection practices;



                                                   9
Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 10 of 13 PageID 54




               b. Statutory damages of $1,000, plus actual damages;

               c. For punitive damages;

               d. For attorneys' fees; and

               e. For such other and further relief as the court deems appropriate.

                               COUNT DI
        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT,
                                      47 U.S.C. 227 ET SEQ.

         57.        Plaintiffs incorporate by reference all the facts and allegations contained in the

  preceding paragraphs 1-47 as if fully set forth herein.

         58.        The foregoing acts and omissions of Defendant constitute numerous and multiple

  violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making calls, except for emergency

  purposes, to the cellular telephone numbers of Plaintiffs using an ATDS and/or artificial or

  prerecorded voice.

         59.        As a result of the Defendant's violations of 47 U.S.C. § 227(b)(1)(A), Plaintiffs

  are entitled to an award of $500 in statutory damages for each and every call to their cellular

  telephone numbers using and ATDS and/or artificial or prerecorded voice in violation of the

  statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

         60.        Plaintiffs are entitled to injunctive relief prohibiting Dqfendant from contacting

  the Plaintiffs on their cellular telephone using an automated dialing system pursuant to 47 U.S.C.

  § 227(b)(3)(a).

         WHEREFORE, Plaintiffs demand trial by jury and request judgment:

         a.         Enjoining Defendant from any and all further calls to the Plaintiffs' cellular

                    telephone using an automatic telephone dialing system




                                                    10
Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 11 of 13 PageID 55




         b.      Statutory damages of $500 per call pursuant to 47 U.S.C. § 227(b)(3)(B) against

                 Defendant and for Plaintiffs;

         c.      For attorneys' fees and costs; and

         d.      For such other and further relief as the court deems appropriate.

                             COUNT IV
   KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER
                           PROTECTION ACT, 47 U.S.C. 4 227(b)(1)(A)

         61.     Plaintiffs incorporate by reference all the facts and allegations contained in the

 preceding paragraphs 1-47 as if fully set forth herein.

         62.     The foregoing acts and omissions of the constitute numerous and multiple

 knowing and/or willful violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making calls,

 except for emergency purposes, to the cellular telephone numbers of Plaintiff and members of

 the Class using an ATDS and/or artificial or prerecorded voice.

         63.     As a result of the Defendant's and/or its affiliates, agents, and/or other persons or

 entities acting on Defendant's behalf knowing and/or willful violations of the TCPA, 47 U.S.C. §

 227(b)(1)(A), Plaintiffs are entitled to treble damages of up to $1,500 for each and every call to their

 cellular telephone numbers using an ATDS and/or artificial or prerecorded voice in violation of the

 statute, pursuant to 47 U.S.C. § 227(b)(3).

         64.     Plaintiffs are also entitled to and do seek injunctive relief prohibiting Defendant

 and/or its affiliates, agents, and/or other persons or entities acting on Defendant's behalf from

 violating the TCPA, 47 U.S.C. § 227(b)(1)(A), by making calls, except for emergency purposes,

 to any cellular telephone numbers using an ATDS and/or artificial or prerecorded in the future.

         65.     Plaintiffs are also entitled to an award of attorneys' fees and costs.




                                                   11
Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 12 of 13 PageID 56




       WHEREFORE, Plaintiffs demand trial by jury and request judgment:

       a.    Enjoining Caliber Home Loans, Inc. from any and all further calls to the

             Plaintiffs' cellular telephone using an automatic telephone dialing system

       b.    Treble damages of $1,500 per call pursuant to 47 U.S.C. § 227(b)(3) against

             Defendant and for Plaintiffs;

       c.    For attorneys' fees and costs; and

       d.    For such other and further relief as the court deems appropriate.

                               DEMAND FOR JURY TRIAL
                   Plaintiffs demand a trial by jury for all issues so triable.


                                             Respectfully submitted,

                                             THE LYONS LAW GROUP, P.A.

                                             /s/ Rebbecca A. Goodall
                                             Andrew M. Lyons, Esq.
                                             Florida Bar No.: 0011288
                                             Rebbecca A. Goodall, Esq.
                                             Florida Bar No.: 0115344
                                             4103 Little Road
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                                             Email Service: pleadings@lyonslawgroup.com
                                             Attorneys for Plaintiffs,
                                             Steven R. Olson and Vincenza Olson




                                               12
       Case 8:17-cv-01249-CEH-MAP Document 2 Filed 05/26/17 Page 13 of 13 PageID 57
Filing # 54954776 E-Filed 04/12/2017 08:07:33 AM
  Olson v. calmer

        "I          CALIBER
                    HOME LOANS
                                                         P.O. Box 24610
                                                         Oklahoma City, OK 73124-0610




        October 20, 2014


       STEVEN R OLSON
       0/0 LYONS LAW GROUP
       4103 LITTLE RD
       PORT RICHEY, FL 34655



       Caliber Account Number: 9801242653

       Dear Counsel:

       Caliber Home Loans, Inc. ("Caliber") is writing to acknowledge receipt of written communication informing
       Caliber that you are representing the borrower(s) in connection with the above-referenced account.

       In accordance with the Federal Fair Debt Collection Practices Act, please be advised that you will receive
       all collections and account cdrrespondence regarding the above-referenced account.

       Please be aware that you will continue to receive all collections and account correspondence regarding
       the above-referenced account until you or the borrower(s) notify Caliber Home Loans, Inc. that you are no
       longer representing the borrower(s). If you are not representing the borrower(s) in connection with the
       above-referenced account, please contact Caliber's Account Resolution Department at 1-800-621-1437
       so that the account may be updated appropriately. Representatives are available Monday through
       Thursday 8:00 a.m. to 9:00 p.m., Friday 8:00 a.m. to 7:00 p.m., and Saturday 8:00 a.m. to 4:00 p.m.,
       Central Time.


       Sincerely,


       Account Resolution Department
       Caliber Home Loans, Inc.



       THIS IS AN ATTEMPT BY A DEBT COLLECTOR TO COLLECT A DEBT AND ANY INFORMATION
       OBTAINED WILL BE USED FOR THAT PURPOSE.

       Notice to Consumers presently in Bankruptcy or who have a Bankruptcy Discharge: If you are a debtor
       presently subject to a proceeding in Bankruptcy Court, or if you have previously been discharged from
       this debt by a Federal Bankruptcy Court, this communication is not an attempt to collect a debt but is sent
       for informational purposes only or to satisfy certain Federal or State legal obligations.



                                                   Exhibit A
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